Case 21-03020-sgj Doc 179-15 Filed 08/08/22                Entered 08/08/22 08:36:41          Page 1 of 10




                                    SENTINEL REINSURANCE, LTD.
                                          (the "Company")
      UNANIMOUS WRITTEN RESOLUTIONS OF THE BOARD OF DIRECTORS OF THE COMPANY

1       Approval of Dividend Payment

1.1     It is noted that Beecher Carlson Cayman, Ltd., which acts as the insurance manager of the
        Company (the "Manager"), will notify Cayman Islands Monetary Authority ("the Authority") of the
        Company's intention to declare a dividend in an aggregate amount of US$2,500,000 (the
        "Dividend"), in accordance with its dividend policy approved by CIMA on 21 March 2016.

1.2     It is further noted that:

        (a)     the latest management accounts of the Company had been reviewed by the directors of
                the Company (the "Directors");

        (b)     in order for the Company to be able to pay the Dividend it must be able to pay its debts as
                they fall due in its ordinary course of business immediately following the payment of the
                Dividend and there must be sufficient profits, retained earnings or share premium; and

        (c)     the Directors had considered whether there were any agreements or other arrangements
                binding on the Company which may restrict the Company's ability to pay the Dividend and
                it is noted that the Directors had determined that the Company is not so restricted.

1.3     Accordingly, IT IS RESOLVED THAT:

        (a)     the Dividend, which complies with the Company's dividend policy, be approved, confirmed
                and ratified;

        (b)     the Directors be authorised to perform on behalf of the Company any and all such acts as
                they may deem necessary or advisable in order to comply with applicable laws and in
                connection therewith to execute and file all requisite papers and documents including but
                not limited to applications, reports, security bonds, irrevocable consents and appointments
                of attorneys for service of process, and the execution by a Director of any such paper or
                document or the doing by him of any act in connection with the foregoing matters shall
                conclusively establish his authority therefor from the Company and the approval and
                ratification by the Company of the papers and documents so executed and actions so taken;
                and

        (c)     all prior actions taken by any Director, officer, and agent for and on behalf of the Company
                in connection with the foregoing resolutions, including but not lim ited to, the signing of any
                agreements, resolutions, deeds, letters, notices, certificates, acknowledgements, receipts,
                authorisations, instructions, releases, waivers, proxies and other documents (whether of a
                like nature or not) and the payment of all and any related fees and expenses be confirmed,
                ratified and approved in all respects.

                                              [signature page follows]
Case 21-03020-sgj Doc 179-15 Filed 08/08/22               Entered 08/08/22 08:36:41   Page 2 of 10




Written board resolutions of Sentinel Reinsurance, Ltd.


Signed by all the Directors:




___________________________

Damien Austin
Director
Dated:




___________________________

Jan Neveril
Director
Dated: 11 January 2021




___________________________

Matthew DiOrio
Director
Dated:     January 11, 2021
Case 21-03020-sgj Doc 179-15 Filed 08/08/22                Entered 08/08/22 08:36:41          Page 3 of 10




                                    SENTINEL REINSURANCE, LTD.
                                          (the "Company")
      UNANIMOUS WRITTEN RESOLUTIONS OF THE BOARD OF DIRECTORS OF THE COMPANY

1       Approval of Dividend Payment

1.1     It is noted that Beecher Carlson Cayman, Ltd., which acts as the insurance manager of the
        Company (the "Manager"), will notify Cayman Islands Monetary Authority ("the Authority") of the
        Company's intention to declare a dividend in an aggregate amount of US$2,500,000 (the
        "Dividend"), in accordance with its dividend policy approved by CIMA on 21 March 2016.

1.2     It is further noted that:

        (a)     the latest management accounts of the Company had been reviewed by the directors of
                the Company (the "Directors");

        (b)     in order for the Company to be able to pay the Dividend it must be able to pay its debts as
                they fall due in its ordinary course of business immediately following the payment of the
                Dividend and there must be sufficient profits, retained earnings or share premium; and

        (c)     the Directors had considered whether there were any agreements or other arrangements
                binding on the Company which may restrict the Company's ability to pay the Dividend and
                it is noted that the Directors had determined that the Company is not so restricted.

1.3     Accordingly, IT IS RESOLVED THAT:

        (a)     the Dividend, which complies with the Company's dividend policy, be approved, confirmed
                and ratified;

        (b)     the Directors be authorised to perform on behalf of the Company any and all such acts as
                they may deem necessary or advisable in order to comply with applicable laws and in
                connection therewith to execute and file all requisite papers and documents including but
                not limited to applications, reports, security bonds, irrevocable consents and appointments
                of attorneys for service of process, and the execution by a Director of any such paper or
                document or the doing by him of any act in connection with the foregoing matters shall
                conclusively establish his authority therefor from the Company and the approval and
                ratification by the Company of the papers and documents so executed and actions so taken;
                and

        (c)     all prior actions taken by any Director, officer, and agent for and on behalf of the Company
                in connection with the foregoing resolutions, including but not lim ited to, the signing of any
                agreements, resolutions, deeds, letters, notices, certificates, acknowledgements, receipts,
                authorisations, instructions, releases, waivers, proxies and other documents (whether of a
                like nature or not) and the payment of all and any related fees and expenses be confirmed,
                ratified and approved in all respects.

                                              [signature page follows]
Case 21-03020-sgj Doc 179-15 Filed 08/08/22               Entered 08/08/22 08:36:41   Page 4 of 10




Written board resolutions of Sentinel Reinsurance, Ltd.


Signed by all the Directors:




___________________________

Damien Austin
Director
        January 11, 2021
Dated:




___________________________

Jan Neveril
Director
Dated:




___________________________

Matthew DiOrio
Director
Dated:
Case 21-03020-sgj Doc 179-15 Filed 08/08/22                          Entered 08/08/22 08:36:41   Page 5 of 10


  From:               Matt DiOrio
  To:                 Gareth Pereira
  Cc:                 Jan Neveril; Alli Ammirato; Damien Austin; Tom Adamczak
  Subject:            Re: Sentinel Dividend
  Date:               Monday, January 11, 2021 12:37:02 PM




  [External]

  Same split

  Sent from my iPhone


         On Jan 11, 2021, at 11:32 AM, Gareth Pereira <pgareth@beechercarlson.com>
         wrote:


         ﻿
         Hi Matt

         Do we know how the payment is to be split between Montage and Mainspring, I know
         in April 2020 it was a 30/70 split?

         Thanks
         Gareth

         From: Matt DiOrio <mdiorio@sasmgt.com>
         Sent: Monday, January 11, 2021 11:24 AM
         To: Gareth Pereira <pgareth@beechercarlson.com>
         Cc: Jan Neveril <jan.neveril@compassofm.com>; Alli Ammirato
         <aammirato@beechercarlson.com>; Damien Austin <daustin@ims.ky>; Tom Adamczak
         <tadamczak@beechercarlson.com>
         Subject: Re: Sentinel Dividend


             [External]

         Info below. Both are at CIBC so instructions are the same outside of account name and
         number.

         Montage Holdings Ltd, account # 10471471
         Mainspring Ltd, account #10471477

         Correspondent Bank: Wells Fargo, N.A., New York, USA
         SWIFT Code: PNBPUS3NNYC
         ABA Code: 026005092
         Beneficiary Bank: FirstCaribbean International Bank (Cayman) Limited
Case 21-03020-sgj Doc 179-15 Filed 08/08/22            Entered 08/08/22 08:36:41          Page 6 of 10


       Beneficiary Bank Account Number: 2000192002655
       SWIFT Code: FCIBKYKY​



       From: Gareth Pereira <pgareth@beechercarlson.com>
       Sent: Monday, January 11, 2021 9:43 AM
       To: Matt DiOrio
       Cc: Jan Neveril; Alli Ammirato; Damien Austin; Tom Adamczak
       Subject: RE: Sentinel Dividend

       Thanks Matt, with the change to the new CIBC online banking website we lost all the
       beneficiaries that were previously set up on the old system. Please send along the wire
       instructions when you get a chance.

       Thanks
       Gareth

       From: Matt DiOrio <mdiorio@sasmgt.com>
       Sent: Monday, January 11, 2021 10:38 AM
       To: Tom Adamczak <tadamczak@beechercarlson.com>; Damien Austin
       <daustin@ims.ky>
       Cc: Jan Neveril <jan.neveril@compassofm.com>; Alli Ammirato
       <aammirato@beechercarlson.com>; Gareth Pereira <pgareth@beechercarlson.com>
       Subject: Re: Sentinel Dividend


        [External]

       ​Thanks everyone. Alli and Gareth, wire instructions have not changed since the
        last dividend but please let me know if you need them again.




       From: Tom Adamczak <tadamczak@beechercarlson.com>
       Sent: Monday, January 11, 2021 6:51 AM
       To: Matt DiOrio; Damien Austin
       Cc: Jan Neveril; Alli Ammirato; Gareth Pereira
       Subject: RE: Sentinel Dividend

       All, that is correct, the Dividend Policy approved by CIMA only requiresnotification to
       CIMA provided that capital be maintained at 125% the greater of MCR and PCR. As
       Sentinel sits currently, this dividend would allowed under the Dividend Policy.
Case 21-03020-sgj Doc 179-15 Filed 08/08/22            Entered 08/08/22 08:36:41       Page 7 of 10


       Thanks,

       Tom

       From: Matt DiOrio <mdiorio@sasmgt.com>
       Sent: Saturday, January 9, 2021 6:45 PM
       To: Damien Austin <daustin@ims.ky>
       Cc: Jan Neveril <jan.neveril@compassofm.com>; Alli Ammirato
       <aammirato@beechercarlson.com>; Tom Adamczak
       <tadamczak@beechercarlson.com>; Gareth Pereira <pgareth@beechercarlson.com>
       Subject: Re: Sentinel Dividend


        [External]

       I believe we just have to notify them that it’s happened. We don’t need preapproval.

       Sent from my iPhone


                 On Jan 9, 2021, at 5:42 PM, Damien Austin <daustin@ims.ky> wrote:

             ​
             I’m fine with this
             Do we need to we get cima approval in advance.?

             Thanks
             Damien Austin
             IMS.

             From: Jan Neveril <jan.neveril@compassofm.com>
             Sent: Friday, January 8, 2021 4:03:43 PM
             To: Matt DiOrio <mdiorio@sasmgt.com>; Damien Austin
             <daustin@ims.ky>
             Cc: Alli Devins <ADevins@beechercarlson.com>; Tom Adamczak
             <tadamczak@beechercarlson.com>; Gareth Pereira
             <pgareth@beechercarlson.com>
             Subject: RE: Sentinel Dividend

             Matt – thanks, let us confirm on Monday when Damien is back in the
             office.

             Jan

             From: Matt DiOrio <mdiorio@sasmgt.com>
             Sent: Friday, January 8, 2021 11:55 AM
Case 21-03020-sgj Doc 179-15 Filed 08/08/22                 Entered 08/08/22 08:36:41               Page 8 of 10


              To: Jan Neveril <jan.neveril@compassofm.com>; 'Damien Austin'
              (daustin@ims.ky) <daustin@ims.ky>
              Cc: Alli Devins <ADevins@beechercarlson.com>; Tom Adamczak
              <tadamczak@beechercarlson.com>; Gareth Pereira
              <pgareth@beechercarlson.com>
              Subject: Sentinel Dividend


              ​I'd like to propose a dividend in the amount of $2.5M. This leaves an
               operating cash cushion of approximately $700k above our current
               loss reserves of $25.3M.



              Separately, we expect the loss reserve requirement to decrease to
              $19.1M in the near future provided the actuary agrees with what has
              been provided in relation to the current status of the ATE litigation.



              Jan and Damien please let us know if you approve of the dividend
              and then the Beecher team can get to work setting it up.



              Thanks,

              Matt DiOrio

              857-453-0197



              Disclaimer

              The information contained in this communication from the sender is confidential.
              It is intended solely for use by the recipient and others authorized to receive it.
              If you are not the recipient, you are hereby notified that any disclosure,
              copying, distribution or taking action in relation of the contents of this
              information is strictly prohibited and may be unlawful.

              This email has been scanned for viruses and malware, and may have been
              automatically archived by Mimecast Ltd, an innovator in Software as a Service
              (SaaS) for business. Providing a safer and more useful place for your human
              generated data. Specializing in; Security, archiving and compliance. To find out
              more Click Here.




       Disclaimer

       The information contained in this communication from the sender is confidential. It is intended
       solely for use by the recipient and others authorized to receive it. If you are not the recipient,
       you are hereby notified that any disclosure, copying, distribution or taking action in relation of
       the contents of this information is strictly prohibited and may be unlawful.
Case 21-03020-sgj Doc 179-15 Filed 08/08/22                             Entered 08/08/22 08:36:41                      Page 9 of 10


       This email has been scanned for viruses and malware, and may have been automatically
       archived by Mimecast Ltd, an innovator in Software as a Service (SaaS) for business.
       Providing a safer and more useful place for your human generated data. Specializing in;
       Security, archiving and compliance. To find out more Click Here.

       "Insurance cannot be bound, altered, or cancelled via email. Coverage confirmation must be communicated through a
       licensed Beecher representative."

       "Beecher Carlson deems receipt of all electronic transmissions, including delivery of insurance policy documents,
       submitted by an authorized representative of our company to you as an acceptable mode of communication in
       conducting business transactions as electronic transmissions are permitted by law."

       "Beecher Carlson also does not warrant or make any representations that this communication is free of any malicious
       software or other defect that might affect any computer system that receives, opens or retrieves such communication.
       Accordingly, any and all liability for alleged or actual loss, damage or injury arising out of or as a result from the
       receipt, opening or any use of such communication is expressly disclaimed”




       Disclaimer

       The information contained in this communication from the sender is confidential. It is intended
       solely for use by the recipient and others authorized to receive it. If you are not the recipient,
       you are hereby notified that any disclosure, copying, distribution or taking action in relation of
       the contents of this information is strictly prohibited and may be unlawful.

       This email has been scanned for viruses and malware, and may have been automatically
       archived by Mimecast Ltd, an innovator in Software as a Service (SaaS) for business.
       Providing a safer and more useful place for your human generated data. Specializing in;
       Security, archiving and compliance. To find out more Click Here.

       "Insurance cannot be bound, altered, or cancelled via email. Coverage confirmation must be communicated through a
       licensed Beecher representative."

       "Beecher Carlson deems receipt of all electronic transmissions, including delivery of insurance policy documents,
       submitted by an authorized representative of our company to you as an acceptable mode of communication in
       conducting business transactions as electronic transmissions are permitted by law."

       "Beecher Carlson also does not warrant or make any representations that this communication is free of any malicious
       software or other defect that might affect any computer system that receives, opens or retrieves such communication.
       Accordingly, any and all liability for alleged or actual loss, damage or injury arising out of or as a result from the
       receipt, opening or any use of such communication is expressly disclaimed”




       Disclaimer

       The information contained in this communication from the sender is confidential. It is intended
       solely for use by the recipient and others authorized to receive it. If you are not the recipient,
       you are hereby notified that any disclosure, copying, distribution or taking action in relation of
       the contents of this information is strictly prohibited and may be unlawful.

       This email has been scanned for viruses and malware, and may have been automatically
       archived by Mimecast Ltd, an innovator in Software as a Service (SaaS) for business.
       Providing a safer and more useful place for your human generated data. Specializing in;
       Security, archiving and compliance. To find out more Click Here.

       "Insurance cannot be bound, altered, or cancelled via email. Coverage confirmation must be communicated through a
       licensed Beecher representative."

       "Beecher Carlson deems receipt of all electronic transmissions, including delivery of insurance policy documents,
       submitted by an authorized representative of our company to you as an acceptable mode of communication in
       conducting business transactions as electronic transmissions are permitted by law."
Case 21-03020-sgj Doc 179-15 Filed 08/08/22                              Entered 08/08/22 08:36:41                      Page 10 of 10


         "Beecher Carlson also does not warrant or make any representations that this communication is free of any malicious
         software or other defect that might affect any computer system that receives, opens or retrieves such communication.
         Accordingly, any and all liability for alleged or actual loss, damage or injury arising out of or as a result from the
         receipt, opening or any use of such communication is expressly disclaimed”




  Disclaimer

  The information contained in this communication from the sender is confidential. It is intended solely for use
  by the recipient and others authorized to receive it. If you are not the recipient, you are hereby notified that
  any disclosure, copying, distribution or taking action in relation of the contents of this information is strictly
  prohibited and may be unlawful.

  This email has been scanned for viruses and malware, and may have been automatically archived by
  Mimecast Ltd, an innovator in Software as a Service (SaaS) for business. Providing a safer and more
  useful place for your human generated data. Specializing in; Security, archiving and compliance. To find out
  more Click Here.
